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13
                         UNITED STATES DISTRICT COURT
14
                       CENTRAL DISTRICT OF CALIFORNIA
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     JANE ROE,                                 Case No. 2:24-cv-09462
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                       Plaintiff,               DEFENDANT GARTH
18                                              BROOKS’ NOTICE OF
           v.                                   PENDENCY OF OTHER
19                                              ACTION
     GARTH BROOKS,
20                                              Complaint Filed: October 3, 2024
                       Defendant.               Removal Date: November 1, 2024
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                DEFENDANT GARTH BROOKS’ NOTICE OF PENDENCY OF OTHER ACTION
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 1         TO THE CLERK OF THE UNITED STATES DISTRICT COURT
 2   FOR THE CENTRAL DISTRICT OF CALIFORNIA, AND TO ALL
 3   PARTIES AND THEIR COUNSEL OF RECORD:
 4         Pursuant to Rule 83-1.4 of the Local Civil Rules for the United States District
 5   Court for the Central District of California, Defendant Garth Brooks (“Defendant”)
 6   hereby gives notice of a substantially similar action pending in the United States
 7   District Court for the Southern District of Mississippi, John Doe v. Jane Roe, Case
 8   No. 3:24-cv-547-HTW-LGI, filed on September 13, 2024.
 9         Plaintiff Jane Roe, who is the defendant in the John Doe action, is
10   represented by:
11         WATSON & NORRIS, PLLC
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                DEFENDANT GARTH BROOKS’ NOTICE OF PENDENCY OF OTHER ACTION
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 1         The John Doe action involves all or a material part of the same subject matter
 2   as this action because it advances legal claims that arise from the falsity of Jane
 3   Roe’s allegations in this case, including her actual and threatened dissemination and
 4   publication of allegations similar to those alleged in this action.
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 6
     Dated: November 1, 2024                      O’MELVENY & MYERS LLP
 7

 8
                                                  By: /s/ Megan K. Smith
 9
                                                     Megan K. Smith
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                                                  Attorneys for Defendant Garth Brooks
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                DEFENDANT GARTH BROOKS’ NOTICE OF PENDENCY OF OTHER ACTION
